                          UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

In re:

INSTASET PLASTIC COMPANY, LLC,           Case No. 22-47794-tjt
                                         Chapter 11 – Subchapter V
           Debtor.                       Hon. Thomas J. Tucker
__________________________________________________________________


               COVER SHEET FOR MOTION TO APPROVE SALE PROCEDURES

         The Debtor has filed a motion for approval of procedures for the sale of

assets,       which          is     attached      to     this       cover   sheet.       Pursuant      to

E.D. Mich. L.B.R. 6004-1, the Debtor has identified below, by page and paragraph

number, the location in the proposed order accompanying the motion of each of the

following provisions:

                                                                Contained in
                                                                 proposed              Location in
                       PROVISION                                   order             proposed order
(1) Provisions concerning the qualifications of the                   Yes
bidding parties.
                                                                X     No

(2) Provisions concerning the criteria for a
qualifying bid and any deadlines for (i) submitting                   Yes
such a bid, and (ii) notification of whether the bid
made constitutes a qualifying bid.                   X                No

(3) Provisions that require qualified bids to                         Yes
identify points of variation from the stalking horse
bid (including price and other terms).               X                No




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(4) Provisions pertaining to the conditions to the               Yes
qualified bidders’ obligation to consummate the
purchase (including the time period within which X               No
the purchaser must close the transaction).

(5) Provisions pertaining to the amount required                 Yes
for a good faith deposit.
                                                             X   No

(6) Provisions that relate to a "Back-Up Buyer"                  Yes
should the first winning bidder fail to close the
transaction within a specified period of time.    X              No

(7) No-shop or No-Solicitation provisions                        Yes
including the justification for such provision.
                                                             X   No

(8) Provisions relating to Break-Up fees, Topping                Yes
fees, and/or Expense Reimbursement (including
the waiver of such fees due to rebidding).        X              No

(9) Provisions specifying the bidding increments.                Yes

                                                             X   No

(10) Provisions relating to auction procedures                   Yes
including manner in which auction is to be
conducted and when the auction will be open and X                No
when it will close.

(11) Provisions relating to whether the auction will             Yes
occur and the termination of the auction process
and/or sale.                                         X           No

(12) Provision   whether    14 day     stay              of X    Yes
F.R.Bankr.P. 6004(h) and 6006(d) is waived.                                      Page 16 ¶ 20
                                                                 No




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(13) Provisions regarding timing for notice,                      Yes
submission of bids, objections to sale and other
key events.                                      X                No



Date: October 7, 2022                                /s/ Lynn M. Brimer (P43291)
                                                     LYNN M. BRIMER (P43291)
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